24-60009-mmp Doc#16 Filed 03/06/24 Entered 03/06/24 17:03:16 Main Document Pg 1 of 2




                             UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

   IN RE:                                               §
                                                        §
   Hollis Riggins                                       §           CASE NO. 24-60009
                                                        §
     Debtor                                             §           CHAPTER 13

          Response to Motion of Maria Erlinda Primera for Relief from Automatic Stay

   TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Debtor in the above styled and numbered cause and in response to the
   Motion of Maria Erlinda Primera for Relief from Automatic Stay respectfully shows as follows:

       1. The allegations in paragraphs 1 through 13 of the Motion are admitted.

       2. The allegations in paragraph 14 of the Motion are denied.

       3. Debtor can neither admit nor deny paragraphs 15 through 22 as they consist of requests
       for relief and legal arguments.

       4. The Divorce Proceeding may continue "except to the extent that such proceeding seeks to
       determine the division of property that is property of the estate[.]", 11 U.S.C. §
       362(b)(2)(A)(iv), without conditioning or relief from the automatic stay.

       5. As shown on Debtor's Schedules A,B, and C, he owns assets that are not fully exempt and
       that, as such, would be subject to administration if he converted his case to Chapter 7. For this
       reason, the Court should retain its authority over the property of the estate at least until the state
       court has determined whether final adjudication would involve awarding such assets to Movant.

          WHEREFORE, PREMISES CONSIDERED, Debtor respectfully prays that the
   automatic stay remain in effect with regard to Movant for pur, and for such other relief in law
   and equity as the Court deems just.

                                                   Respectfully submitted,

                                                   /s/ Evan Simpson
                                                   Evan Simpson
                                                   Law Office of Evan Simpson PLLC
                                                   1717 Columbus Ave
                                                   Waco, TX 76701
                                                   (254) 399-9977
                                                   (254) 399-9909 fax
                                                   Email: Evan@hotxlaw.com
                                                   Bar No. 24060612
24-60009-mmp Doc#16 Filed 03/06/24 Entered 03/06/24 17:03:16 Main Document Pg 2 of 2




                                                Attorney for Debtor

                                    CERTIFICATE OF SERVICE

           On March 6, 2024, a true and correct copy of the foregoing document was served by mail,
   electronic notice, or hand delivery on:

   Debtor
   Hollis Riggins
   1300 Placid Circle #5103
   Waco, TX 76706

   Movant
   Maria Erlinda Primera
   500 N State Hwy 161 #320Z
   Irving, TX 75038

   Attorney for Movant
   Jeff Carruth
   WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
   2608 Hibernia, Suite 105
   Dallas, Texas 75204-2514

           A true and correct copy of the foregoing was served electronically on the following
   parties in interest:

   Chapter 13 Trustee                                          US Trustee
   Ray Hendren                                                 903 San Jacinto, Room 230
   PO Box 27466                                                Austin, TX 78701
   Austin, TX 78755-2466


                                                /s/ Evan Simpson
                                                Evan Simpson
